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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                           v.                            PRETRIAL ORDER

     JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                       Defendants.



          The jury trial in this case is scheduled to be conducted from October 25 to November 19,

   2021, at the Federal Courthouse in Charlottesville. Finding the following orders pertaining to

   trial schedule and procedure will promote efficient preparation for and conduct of the trial in this

   case, it will be ORDERED as follows:

          1.      Trial Schedule. Trial days will begin promptly at 9:00 a.m. and end at 5:00 p.m.,

   with a lunch break and breaks in the morning and afternoon. No court will be held on Veterans’

   Day (Thursday, November 11, 2021).

          2.      The Jury. The jury will consist of 12 persons.

          3.      Jury Questionnaires. The parties will have access to copies of questionnaires

   returned from prospective jurors as specifically set forth herein. Any copies of questionnaires or

   of any information contained therein shall not be disclosed to any other person without prior

   authorization of Court, subject to penalties including contempt of court.

          Plaintiffs, and Defendants represented by counsel, may each designate no more than six

   (6) current counsel of record, which shall include at least one attorney admitted to practice

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   in the Western District of Virginia, to be provided electronic access by the Clerk to receive and

   review copies of the questionnaires, on a rolling basis. A list including names and occupations of

   prospective jurors will be provided not more than five (5) days before trial.

           Any pro se Defendant—upon completing a declaration stating, under penalty of perjury,

   they will not disclose the contents of such questionnaires to any other person—may review the

   questionnaires onsite in the Clerk’s Office. A paper copy of the completed questionnaires in the

   format described above will be maintained in the Clerk’s Office.

           If any party requests specific access to the confidential juror questionnaires in excess of

   the provisions outlined above, they shall file a motion to that effect.

           A blank copy of the questionnaire has been filed on the docket.

           4.      Voir Dire. The parties may file proposed voir dire questions by October 12, 2021.

   Dkt. 991 at 2 (¶ 10). The Court intends to examine prospective jurors during voir dire. Certain

   preliminary questions will also be asked by the Clerk of Court. After conclusion of the Court’s

   questions, the parties will be permitted to propose further questions to the Court. The Court itself

   will ask any additional questions it considers proper. On October 25 and 26, 2021, the Court has

   scheduled four panels of prospective jurors on each day, to reduce the number of persons in the

   Courtroom at any given time, as one measure to reduce any risk of spread of COVID-19.

           5.      Challenges. Following voir dire for each panel, the Court will consider any

   challenges for cause. Thereafter, the parties may take peremptory challenges (strikes). Each side

   is entitled to take six (6) strikes. Plaintiffs shall have six strikes. Defendants shall have six

   strikes which can be exercised jointly, following consultation among Defense counsel and with

   pro se Defendants Christopher Cantwell and Richard Spencer.



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         It is so ORDERED.

         The Clerk of Court is directed to send a certified copy of this Order to the parties.

         Entered this 7th      day of October, 2021.




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